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                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


 PARS EQUALITY CENTER, IRANIAN                      Case No. 1:17-cv-00255-TSC
 AMERICAN BAR ASSOCIATION,
 NATIONAL IRANIAN AMERICAN
 COUNCIL, PUBLIC AFFAIRS ALLIANCE
 OR IRANIAN AMERICANS, INC., et al.,

                 Plaintiffs,

 v.

 DONALD J. TRUMP, et al.,

                 Defendants.


                   Motion For Leave To File Brief Amicus Curiae Of HIAS
                 In Support Of Plaintiffs’ Motion For Preliminary Injunction

       Pursuant to Civil Local Rule 7(o)(2), HIAS hereby submits this motion for leave to file the

attached amicus curiae brief in support of Plaintiffs’ Motion For Preliminary Injunction in the

above-captioned matter.

       1.       HIAS is a non-profit refugee resettlement agency and one of nine federally

designated organizations that resettles refugees in collaboration with the Department of State and

Department of Health and Human Services. HIAS is the oldest refugee resettlement agency in the

world and the only Jewish refugee resettlement agency. Founded in 1881 to protect Jewish people

fleeing pogroms in Russia and Eastern Europe, HIAS’s mission today is to protect people of all

backgrounds and origins who are persecuted on the basis of who they are or what they believe.

HIAS has helped over 4.5 million people worldwide escape persecution.

       2.       HIAS has a substantial interest in the outcome of this case. President Donald J.

Trump’s Executive Order No. 13769, entitled “Protecting the Nation from Foreign Terrorist Entry



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into the United States” (the “Executive Order”), raises issues that go to the heart of HIAS’s mission

and values. Bearing a disturbing resemblance to the government-endorsed acts once taken against

the Jewish people, the Executive Order effectively heightens stigma and polarization against one

religious group, and communicates to the world that the United States government supports the

religious discrimination of Muslims. As an organization with a longstanding mission to protect

individuals and families against the dangerous consequences of religious discrimination, HIAS has

a strong interest in curtailing any government undertaking that institutionalizes such discrimination

under the guise of public safety. More importantly, HIAS fears for the safety of its clients, whose

lives literally depend on their resettlement in the United States. As a result of the Executive

Order’s ban on immigration, thousands of refugees are now unable to obtain the safety and freedom

that was promised to them and that every human being deserves. HIAS has a strong interest in

ensuring that the government does not preclude refugees from attaining lives free of persecution,

and that the individual voices of these men, women, and children are heard amidst any and all

rhetoric or policy that encourages the public to categorically disregard them.

       3.       “An amicus brief should normally be allowed . . . when the amicus has unique

information or perspective that can help the court beyond the help that the lawyers for the parties

are able to provide.” Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008) (internal

citation and quotation marks omitted). HIAS believes that it is in a special position to inform the

Court about the unique struggles of refugees and the harm that they suffer as a consequence of the

Executive Order. The harm imposed by the Executive Order on certain groups of people is a

central issue in this litigation and at the heart of this controversy.       Plaintiffs’ Motion for

Preliminary Injunction focuses on the impact that the Executive Order has on Iranian nationals,

both refugees and non-refugees, but the impact the order has on all refugees is much broader and



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deserving of attention. HIAS offers this brief to give the Court a comprehensive understanding of

the unique and immediate harm suffered by refugees from around the globe due to the Executive

Order.

         4.       Plaintiffs have consented to the filing of this amicus curiae brief.

         5.       Counsel for HIAS conferred with counsel for Defendants on February 23, 2017.

Defendants take no position on the filing of this amicus curiae brief.

                                            CONCLUSION

         For the foregoing reasons, HIAS hereby requests that the Court grant leave to file an amicus

curiae brief in support of Plaintiffs’ Motion for Preliminary Injunction.


Dated: March 1, 2017                             Respectfully Submitted,

                                                   /s/ James E.B. Bobseine
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                               CERTIFICATE OF SERVICE

     I hereby certify that on March 1, 2017, I filed the foregoing document via the Court’s
CM/ECF system. The document will be served electronically on counsel of record for the parties.

                                                   /s/ James E.B. Bobseine
                                                   James E.B. Bobseine




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